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                          UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF MASSACHUSETTS


 In Re:                                      )    Chapter 13
 ANDREW GREENHUT                             )    Case No. 19-10782-FJB
         Debtor                              )
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                                    NOTICE OF APPEARANCE

         I, Gary W. Cruickshank, pursuant to Federal Rule of Bankruptcy Procedure

 9010(b) and MLBR 9010-1, hereby file my notice to appear on behalf of Alan and Gloria

 Greenhut, Creditors of the above Debtor. Request is hereby made that the undersigned be

 served with copies of all notices, pleadings and documents filed in this adversary

 proceeding.


                                                  Alan and Gloria Greenhut
                                                  By their Counsel,



 Dated: July 16, 2019                             /s/Gary W. Cruickshank, Esq.
                                                  21 Custom House Street
                                                  Suite 920
                                                  Boston MA 02110
                                                  (617)330-1960
                                                  (BBO107600)
                                                  gwc@cruickshank- law.com
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                               CERTIFICATE OF SERVICE

 I, Gary W. Cruickshank, hereby certify that on July 16, 2019, I electronically filed with
 the Clerk of the Bankruptcy Court, the foregoing Notice and served same in the following
 manner upon the interested parties:

 Email service: via the Court’s CM/ECF system which sent notification of such filing to
 the following:

    •   Carolyn Bankowski-13-12 13trustee@ch13boston.com
    •   John Fitzgerald USTPRegion01.BO.ECF@USDOJ.GOV
    •   Richard N. Gottlieb rnglaw@verizon.net, r39800@notify.bestcase.com
    •   Alex F. Mattera amattera@psh.com




                              /s/Gary W. Cruickshank, Esq.
